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 1
                                UNITED STATES DISTRICT COURT
 2                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 3

 4      UNITED STATES OF AMERICA,                          CASE NO. CR09-5601BHS

 5                         Plaintiff-Respondent,           ORDER DENYING MOTION FOR
                                                           REDUCTION OF SENTENCE
 6               v.

 7      JOSE AHUMADA-RODRIGUEZ,

 8                         Defendant-Movant.

 9
            This matter comes before the court on Defendant-Movant Jose Ahumada-Rodriguez’
10
     (Ahumada-Rodriguez) Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582. Dkt. 265. The
11
     court has reviewed the motion and the government’s response (Dkt. 272).
12
            Defendant seeks a reduction in sentence based on Amendment 788 to the Sentencing
13
     Guidelines which made Amendment 782 to USSG 2D1.1. Because the sentence that Ahumada-
14
     Rodriguez is serving is the applicable mandatory minimum sentence required by 21 U.S.C. §
15
     841(b)(1)(A), Defendant is ineligible for a reduction in sentence under 18 U.S.C. 3582(c)(2) and
16
     his motion should be denied.
17
            NOW, THEREFORE, IT IS HEREBY ORDERED that Ahumada-Rodriguez’ Motion to
18
     Reduce Sentence Pursuant to 18 U.S.C. § 3582 is DENIED.
19
            Dated this 20th day of July, 2015.
20

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22
                                                   A
                                                   BENJAMIN H. SETTLE
                                                   United States District Judge
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     ORDER - 1
